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·8· · · ·Former CEO of Overstock says He Has Proof The
·9· · · ·Election was Rigged, Can Overturn Biden's Win
10· · · · · · · · · · November 24, 2020
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23· Transcribed by
24· Charlotte Crandall
25· RPR, FPR


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·1· · · · · · CHRISTOPHER McDONALD:· And a beautiful Sunday
·2· evening, everyone.· Christopher McDonald with a very
·3· special breaking McFiles on this Sunday night.· We're
·4· very honored to have a new guest with us and someone
·5· we've never spoke with until tonight, but we're very
·6· honored to have Patrick Byrne.· He is retired and the
·7· founder, used to be the founder, is still the founder of
·8· Overstock, but he's with us tonight.
·9· · · · · · Patrick, it's a pleasure to have you,
10· friend, and always a great time when we have new
11· guests.· I'll tell you what I tell everybody else.
12· You're a guest for about a minute, and after that
13· you're McFile's family, so welcome to the McFile's
14· family tonight.· Good to have you on this Sunday
15· night.
16· · · · · · PATRICK BYRNE:· It is my honor, Mr. McDonald.
17· Thank you very much.
18· · · · · · CHRISTOPHER McDONALD:· It's Chris.· That
19· mister makes me feel so old.· We're from the south down
20· here.· Misters gets us nervous, so it's just Chris, but
21· we thank you so much, Patrick.
22· · · · · · Patrick, I'm going to actually release you
23· right now, and I'm going to let you talk about why
24· you came on tonight because you've got some things
25· you want to share with us about this election


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·1· manipulation.· I know that the mainstream media is
·2· trying their best to convince the country there's
·3· just no evidence of voter fraud.· But I think people
·4· with a brain and people that see this from inside
·5· out, they believe that that's just not true.· Tell us
·6· what you know.
·7· · · · · · PATRICK BYRNE:· Okay.· I came on to tell you
·8· three things.· First, who am I.· I normally wouldn't
·9· beat my chest about this.· I'm a guy who built a two
10· billion dollar ECommerce company.· I was named national
11· entrepreneur of the year.· I'm a Ph.D. from Stanford.           I
12· have something called a Marshal scholar.· I know what
13· I'm talking about a lot more than any of these
14· government guys, you know, lawyers with some credentials
15· -- initials by their name.· I know a lot more about
16· this.· Just believe an ECommerce entrepreneur who built
17· a two billion company or believe one of those guys.
18· · · · · · This election was rigged, and I'm saying
19· this not as a Trump supporter.· I did not -- I'm not
20· a never Trumper, but I'm a small L libertarian.· I've
21· never voted for a Republican or Democrat for
22· president in my life.· I'm coming at this purely
23· from -- I'm a fanatic about the Constitution.· My
24· Ph.D. is the intellectual history of the U.S.
25· Constitution, so I'm coming at this just purely from


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·1· what's true, not I'm a rabid Trump guy.
·2· · · · · · This election was rigged.· It was rigged in
·3· a way that people don't understand and is quite a bit
·4· deeper than the kind of rigging we're used to hearing
·5· about, ballot stuffing.· So this case is not about
·6· what you've been hearing, that it's about the 243
·7· dead people in Philadelphia voted.· That's all small
·8· ball.
·9· · · · · · What happened here is in the hundreds of
10· thousands of votes in certain states.· It also was
11· not about widespread fraud.· Don't puke.· The
12· Democrats are right about something.· It isn't that
13· this is widespread and they're correct.· It was very
14· strategic, it was very narrow and deep in certain
15· places.
16· · · · · · What they figured out is a strategy is that
17· there were basically five cities.· You don't have to
18· commit widespread fraud.· They picked five cities
19· that they could commit crazy fraud in some new ways,
20· crazy deep fraud, and by cheating those five
21· counties, frankly, you flip five key states, you flip
22· the electoral college.· So it was very well thought
23· out, and we've been studying all the numbers.· It's
24· clear that in the cities they did that, but in the
25· countryside where they knew there was more Trump


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·1· support they sapped votes from Trump, but still let
·2· him win in sort of rural counties.· Otherwise it
·3· would catch too much attention.
·4· · · · · · We've been pouring through the data for two
·5· weeks now.· Like I say, I live data.· I'm a guy who
·6· built a two billion company.· This is what I did for
·7· 20 years.· It was very sophisticated strategy.
·8· · · · · · Now, how did they cheat the election?· They
·9· rigged the election in five counties.· How did they
10· do that?· Believe it or not, I know we have to go
11· back -- why don't I start this way, start this part
12· of the explanation as follows.· In 2018 in Dallas,
13· Texas there was an election with some irregularities.
14· The state government of Texas hired some local cyber
15· security experts, very good with military
16· intelligence and federal law enforcement kinds of
17· backgrounds and a very high end cyber security team to
18· study the 2018 Dallas election. They studied these
19· irregularities.· It had been run by Dominion election
20· system.· They've had two years to study and unwind what
21· the rest of America has had two weeks to try to
22· figure out.· Over those two years they figured out
23· ten ways -- there are at least ten ways to hack an
24· election which uses this Dominion equipment, ten.
25· · · · · · Now, we can go into the technical stuff if


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·1· you want, but I'll put it this way.· As a guy who
·2· built -- I know I sound like a jerk pounding my
·3· chest, but all I can say is I built a two billion
·4· dollar ECommerce company that never got hacked.                 I
·5· know what I'm talking about.· The election systems
·6· that govern elections in America are a joke.· On a
·7· scale of one to ten to hack they're maybe a two.
·8· They're a two at best, maybe a one.· It's easier to
·9· hack this, far easier to hack this than it would be
10· your Paypal or Venmo account.
11· · · · · · Now, so there are ten different ways to
12· hack it.· They picked, and they went narrow and deep
13· in these very strategic ways in these five counties,
14· flipped them, flipped the states.· So we're talking
15· about, you know, places where Trump lost by ten
16· thousand.· He may -- there may be 300,000 fake,
17· illegal votes for Biden, so it isn't even close.
18· This isn't even close.
19· · · · · · What they did was, it's being called drop
20· and roll, an election fraud technique where at a
21· certain moment in time you figure out -- anyway, so
22· I'll stop there.· So that was the big picture.· Dive
23· down on what you'd like, Mr. McDonald.
24· · · · · · CHRISTOPHER McDONALD:· No, you're fine.· You
25· keep talking.· I've got a few questions.· You finish


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·1· what you've got to say and then I'll ask you questions.
·2· · · · · · PATRICK BYRNE:· No, that's it.· I'll let you
·3· question where you want to.
·4· · · · · · CHRISTOPHER McDONALD:· Five cities.· What were
·5· the five cities, Patrick?
·6· · · · · · PATRICK BYRNE:· Five cities were Atlanta,
·7· Philadelphia, Milwaukee, Detroit and Maricopa County,
·8· Phoenix, which Maricopa, Arizona which is Phoenix.· Note
·9· that the first four cities are heavily African American.
10· · · · · · CHRISTOPHER McDONALD:· That's right.
11· · · · · · PATRICK BYRNE:· And Maricopa, what they did,
12· the beauty of this, and if you don't mind, so I'm not a
13· Republican, but I'm definitely not a Democrat, and I
14· think that the Democrats have a long history of using
15· black people in various pernicious ways and cheating --
16· · · · · · CHRISTOPHER McDONALD:· Right.
17· · · · · · PATRICK BYRNE:· I think that they -- they did
18· this in part -- the beauty of using those four cities is
19· when they cheat there, then as it starts to get revealed
20· they can say oh, you don't like black people, you're
21· trying to suppress this vote.· It has nothing to do with
22· that.· They're hiding behind the black people as they
23· always do.· They're using the black community as they
24· have done in so many ways for so many decades.· That's
25· one of the reasons it's so smart to cheat in those four


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·1· cities.
·2· · · · · · The black people aren't the ones who
·3· cheated.· The black folks aren't the ones who
·4· cheated.
·5· · · · · · CHRISTOPHER McDONALD:· Right.
·6· · · · · · PATRICK BYRNE:· It's the people running the
·7· equipment.
·8· · · · · · CHRISTOPHER McDONALD:· Exactly.· Well, you
·9· basically named the six states or the five states that
10· basically hold the key to this election.
11· · · · · · PATRICK BYRNE:· And Nevada.· If there's a
12· sixth it would be Nevada.
13· · · · · · CHRISTOPHER McDONALD:· Yeah.
14· · · · · · PATRICK BYRNE:· But they're different there.
15· This is really the elite class has always hid behind
16· black people.· They don't care about them, but they've
17· used them, and they've done it again this way, and in
18· Phoenix it was with Hispanics.
19· · · · · · CHRISTOPHER McDONALD:· Explain the drop and
20· roll technique because I've never heard that until
21· tonight.· Tell us a little bit about that.· How did they
22· drop and roll?
23· · · · · · PATRICK BYRNE:· Okay.· At a certain point in
24· the election counting they basically freeze and they see
25· how much their candidate is behind.


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·1· · · · · · CHRISTOPHER McDONALD:· Got you.
·2· · · · · · PATRICK BYRNE:· And then they drop.· They shut
·3· the ballots, the voting down, and they drop a big stack
·4· of ballots to get their man up over the guy who's
·5· actually winning, and then from then on they just sit.
·6· Whatever new batch comes in is prefigured.
·7· · · · · · There's some examples where 53 batches in a
·8· row, and this is all revealed in data and charts that
·9· will be coming public tomorrow, these big voter drops
10· that have Biden catch up and surpass Trump, and then
11· from then on sort of fix -- they just roll the
12· difference forward.· 53 batches in a row come in, and
13· every batch measures exactly 51.2 percent for Biden
14· and 48.8 percent for Trump, and they roll that
15· difference forward until it's over, so drop and roll.
16· That's what they did here, but it was done within --
17· it was done both in a combination of actual physical
18· ballots and with chicanery within the software.
19· · · · · · CHRISTOPHER McDONALD:· Are you aware, and
20· we've got people coming up on the show this week.· Rudy
21· came out this weekend, Sidney Powell came out Friday and
22· said we've got proof, we've got affidavits, we've got
23· sworn testimony that people have seen what you describe.
24· Are you confident that this is going to get to the
25· courts in time to get this stopped because you said


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·1· something to me before the show.· You said you feel
·2· there's a way we can fight this out here in the public
·3· too.
·4· · · · · · PATRICK BYRNE:· Oh, yeah.· This isn't even
·5· close.· Yes, I'm aware of all those -- a lot of
·6· whistleblowers and data has been coming to me, and I've
·7· been feeding it towards them.· I'm not part of them in
·8· anyway, but I have a way to pipe it to them and they've
·9· been responding.· Yeah, this absolutely needs to be
10· fought out in the courts.
11· · · · · · Anybody, any election official in the
12· country, given what has come out and given graphs
13· I'll be putting up tonight or tomorrow morning,
14· anyone who signs a certification has personal legal
15· liability, especially in any of those states.· It's
16· nuts.· If anyone signs anything to certify, they have
17· no understanding how this was done.· It was much,
18· much deeper than ways in the past.
19· · · · · · By the way, one thing I want to mention, at
20· the heart of all this -- I post things on Deep
21· Capture, DeepCapture.com.· At the heart of all this
22· is software that was developed in Venezuela by Hugo
23· Chavez for him to rig his elections.· It's called
24· Smartmatic.· That software from '97 came into Florida
25· in about 2002, and then from a series of corporate


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·1· mergers and acquisitions it has emerged as the core
·2· of two of the brands of election machinery out there,
·3· one of them being Dominion, and the guts of it
·4· includes all this functionality and software that was
·5· actually from Venezuela to help a dictator rig his
·6· elections.· That's how crazy this is.
·7· · · · · · CHRISTOPHER McDONALD:· Do you think the
·8· Democrats were planning this for 2016?· This has to be
·9· something they've been planning a while, Patrick.· This
10· is not something that just showed up overnight.
11· · · · · · PATRICK BYRNE:· I don't want to get too far in
12· front of my data, but it may turn out this happened in
13· 2012 and cheated Mitt Romney.
14· · · · · · CHRISTOPHER McDONALD:· Wow.· Good lord.
15· · · · · · PATRICK BYRNE:· In 2016 it was supposed to
16· happen.· It got shut down.· I know who shut it down.
17· Somebody blocked it.· Hilary, the reason -- I know it
18· was supposed to happen in 2016 and got cut off, so
19· that's why Hilary lost.· So that's why Hilary didn't
20· feel she had a big need to campaign, just like Joe
21· Biden.
22· · · · · · CHRISTOPHER McDONALD:· Exactly.
23· · · · · · PATRICK BYRNE:· Because they both had been
24· told it was rigged.· I know exactly who shut it down in
25· 2016.· It didn't get shut down this time.


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·1· · · · · · CHRISTOPHER McDONALD:· 2018 stolen, the mid
·2· terms from the Republicans in the House?
·3· · · · · · PATRICK BYRNE:· What's going on, and this is
·4· the big headlines, we have clear evidence that they are
·5· targeting certain congressmen and flipping seats.· In
·6· Texas, they couldn't have flipped Texas, but there were
·7· some certain areas in Texas they cheated like hell.
·8· There are congressmen who have been flipped.
·9· · · · · · By the way, there were Republicans in on
10· this.· You're going to find -- I believe you're going
11· to find two senior Republican officials at the state
12· level in two different states took efforts to get
13· this Dominion software accepted, in one case on a
14· hundred million dollar contract was paid, and the
15· Republican who did that, I think it's going to turn
16· out that they got election insurance, which means
17· they were told if you help this Dominion stuff get in
18· there, we'll fix it so you never get out of office.
19· There may have been gifts given to family members and
20· such, but every state who uses Dominion, and there's
21· 29 of them, should be investigating who was it that
22· chose to bring the software in because even though
23· the most cursory due diligence would show we should
24· not be running elections on it.
25· · · · · · I have to get up and -- can you stand by


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·1· just a moment
·2· · · · · · CHRISTOPHER McDONALD:· Sure, sure.
·3· · · · · · PATRICK BYRNE:· I think that I should wrap up
·4· in the next minute.
·5· · · · · · CHRISTOPHER McDONALD:· I was going to say I
·6· was going to go ahead and let you go.· We've got Patrick
·7· for a limited time.· Please promise me you'll come back.
·8· We'll pick this up.· Thank you so much for joining us
·9· tonight.
10· · · · · · PATRICK BYRNE:· Sidney Powell has a website,
11· DefendtheRepublic.com, DefendtheRepublic.org.· She needs
12· some money to conduct -- I mean, I've put in a lot of
13· money myself, but people need -- if you want to do
14· something.· Also, if you're in any of those five states,
15· call your state legislatures and send this video.· They
16· should know anyone who signs these cert forms now should
17· go to jail.
18· · · · · · CHRISTOPHER McDONALD:· Come on, Patrick.
19· · · · · · PATRICK BYRNE:· They have no business
20· certifying until they hear the facts.
21· · · · · · CHRISTOPHER McDONALD:· I'll be talking to you
22· in a few days, my friend.· Thank you for tonight,
23· Patrick.· We're really honored to have you.· Thank you
24· so much.· God bless.· Thank you so much.
25· · · · · · PATRICK BYRNE:· Take care.


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·1· · · · · · CHRISTOPHER McDONALD:· Folks, you've been
·2· listening to Patrick Byrne.· He had to go.· We had him
·3· for a limited time.· I knew we didn't have him but about
·4· 15 minutes and it was an honor to have him.
·5· · · · · · I want to thank Joe Flynn, my dear buddy
·6· Mark Taylor for setting this up with us tonight.· We
·7· normally don't do a show like this on Sunday night,
·8· but I felt like this was very, very important for you
·9· to hear.· We'll be following this story tomorrow into
10· Tuesday, got Thanksgiving coming up on Thursday.
11· · · · · · I'll see you tonight on the Face Show at
12· 8:30.· Chris McDonald for the McFiles.· Have a good
13· night, everybody.· Keep an eye on this story.· If
14· you're in Wishigan -- Wishigan.· If you're in
15· Michigan, Wisconsin, Pennsylvania -- we just made a
16· new state.· That's another state they didn't try to
17· steal, Wishigan.· Michigan, Wisconsin, Pennsylvania,
18· Georgia, Arizona, Nevada.· Get on those phones to
19· that state legislator tonight and tomorrow and make
20· sure that your secretary of state, especially in
21· Georgia, folks.· What he described happened in
22· Georgia, they stopped counting in the middle of the
23· night supposedly, which is illegal.· They shouldn't
24· have been able to do it.· We're going to follow this
25· up tomorrow with Mark on Spiritual Smackdown.


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·1· · · · · · Until then, Chris McDonald, but I'll see
·2· you tonight on the Face Show at 8:30.· Won't be
·3· discussed then, but we will discuss it more tomorrow.
·4· God bless you guys.
·5· · · · · · Thanks, Patrick Byrne.· Great, great
·6· patriot and he's a wonderful man, and I appreciate
·7· him coming on the McFiles tonight.· We were one of
·8· the first ones to get him, and we're very honored to
·9· have him tonight for the short time we did.
10· · · · · · Bless you guys.· See you later.· Goodnight.
11· · · · · · (End of recording.)
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·2· · · · · · · · · ·CERTIFICATE OF REPORTER

·3

·4· · · · · · I, Charlotte Crandall, certify that I was

·5· authorized to and did transcribe the foregoing audio

·6· recorded proceedings and that the transcript is a

·7· true and complete record of my stenographic notes

·8· from an audio recording and was transcribed to the

·9· best of my ability.

10

11· · · · · · Dated this 4th day of August, 2021.

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17· · · · · · · · · · · ________________________________
· · · · · · · · · · · · Charlotte Crandall
18· · · · · · · · · · · Registered Professional Reporter

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